 Case 1:22-cv-01466-MN Document 38 Filed 05/15/23 Page 1 of 4 PageID #: 2954


                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                      1201 N ORTH M ARKET S TREET
                                             P.O. B OX 1347
                                  W ILMINGTON , D ELAWARE 19899-1347

                                             (302) 658-9200
                                          (302) 658-3989 FAX

BRIAN P. EGAN
(302) 351-9454
(302) 498-6216 FAX
began@morrisnichols.com


                                             May 15, 2023

The Honorable Laura D. Hatcher                                         VIA ELECTRONIC FILING
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801

          Re:        Autonomous Devices LLC v. Tesla, Inc. (C.A. No. 22-1466-MN)

Dear Judge Hatcher:

We represent Defendant Tesla, Inc. (“Tesla”) and submit this letter concerning the parties’ current
dispute over the protective order. The parties have reached agreement on almost all provisions, with
the exception of certain provisions relating to two issues: (1) what type of documents may be
designated as “HIGHLY CONFIDENTIAL – SOURCE CODE”; and (2) the protections in place for
so-designated documents. Tesla’s proposed protective order is attached as Exhibit 1.

Both disputes concern the protection of documents detailing Tesla’s autopilot (AP) software. As
explained in the declaration of Phil Duan, Tesla’s Senior Staff Software Engineer for Autopilot,
Tesla considers this software to be its most valuable technology and the future of the company. Ex. 2
¶ 3. It contains trade secrets reflecting the investment of tens of thousands of man hours and over a
billion dollars in R&D. Id. Tesla’s AP software is also its most sensitive (and thus highly guarded)
asset. As explained in the declaration of Jake Nocon, Tesla’s Director of Security Intelligence,
Tesla’s software has been a target for repeated attempts at corporate espionage, from actors inside
and outside the company. Ex. 3 ¶ 4. Tesla is particularly concerned with threats from well-funded
nation-state actors who have expressed interest in AP technology. Id. ¶ 5.

Tesla enforces the highest level of internal confidentiality for the AP group, including for
documents, computer code, and even information about the engineers themselves. Id. ¶ 3. As a
general matter, Tesla employees must sign NDAs, and confidential documents can only be accessed
by an active Tesla account with sufficient access controls. Id. Tesla further employs a team whose
job is to monitor for the exfiltration of confidential data, including through the use of electronic
monitoring tools. Id. The AP group is further sequestered into its own physical and IT-access space
that non-AP engineers cannot access. Id. Even on Tesla’s intranet, information about AP engineers is
less available than for non-AP engineers. Id. Tesla has gone so far as to develop a custom software
 Case 1:22-cv-01466-MN Document 38 Filed 05/15/23 Page 2 of 4 PageID #: 2955

The Honorable Laura D. Hatcher                                                           May 15, 2023


platform to improve the data security of its AP group. Id. Within Tesla, special protections for AP
confidential information extend to computer code and documents alike. Id. To date, Tesla has only
made its AP documents or computer code available for inspection in one prior litigation, in which
inspection was limited to a neutral, third-party reviewer who could not print or transport the material.
Id. ¶ 6; Ex. 10 (Tesla, Inc. v. Cao, (N.D. Cal.)) (discussing review process).

With the foregoing in mind, Tesla has proposed protections that will allow discovery to proceed
efficiently while protecting its “crown jewels” from inadvertent disclosure or theft. Tesla reserves all
rights to challenge the discoverability of any information contemplated by these provisions.

I.     TESLA’S PROPOSED DEFINITION OF SOURCE CODE IS NECESSARY AND
       CONSISTENT WITH PRIOR PRACTICE

Tesla proposes that the highest level of protection afforded by the protective order—“HIGHLY
CONFIDENTIAL – SOURCE CODE”—should be applied both to its computer code, to the extent
made available, and to certain technical documentation describing its computer code. In particular,
Tesla proposes that “‘Source Code’ means computer code, associated comments, and/or revision
histories for computer code, formulas, engineering specifications, or schematics that define or
otherwise describe in detail the algorithms or structure of software or hardware designs.” Ex. 1 ¶
2(c). In contrast, Plaintiff proposes that only computer code may be so-designated.

Tesla’s definition is necessary to protect its most valuable and sensitive technology from theft or
inadvertent disclosure. There is no dispute that computer code warrants the highest confidentiality
designation under the protective order. But documents that “describe in detail the algorithms or
structure of software designs” pose the same risk. Indeed, when it comes to AP software, Tesla
employs heightened measures for technical documentation and computer code alike. Ex. 3 ¶ 3.

Tesla’s proposed definition is consistent with prior practice in this and other courts, who have
adopted substantially similar definitions of “Source Code.” E.g., Ex. 5 ¶ 9 (Parity Networks, LLC v.
Netgear, Inc., No. 22-cv-1521 (D. Del. Apr. 3, 2023)); Ex. 6 ¶ 8 n.5 (Almondnet, Inc. v. Roku, Inc.,
No. 6:21-cv-876 (W.D. Tex. Sept. 16, 2022)). Tesla’s proposal is substantially similar to the
language used in the “Model Protective Order for Litigation Involving Patents, Highly Sensitive
Confidential Information and/or Trade Secrets” in N.D. Cal. Ex. 4 ¶ 2.9.

II.    TESLA’S PROPOSED SOURCE CODE PROTECTIONS ARE REASONABLE

“[I]t is well recognized among lower courts that source code requires additional protections to
prevent improper disclosure because it is often a company’s most sensitive and most valuable
property.” Drone Techs., Inc. v. Parrot S.A., 838 F.3d 1283, 1300 n. 13 (Fed. Cir. 2016); see also
Via Vadis Controlling GmbH v. Skype, Inc., 2013 WL 646236, at *3 (D. Del. Feb. 21, 2013)
(“Source codes are the most sensitive and confidential property of Respondents . . . extreme
measures are ordered to protect their confidentiality.”).

The parties agree that documents designated as “HIGHLY CONFIDENTIAL – SOURCE CODE”
are to be made available for in-person inspection on a review computer. Ex. 1 ¶ 11. The parties
further agree that the inspecting party may request a limited number of printouts of such documents
as needed for use in this litigation. Id. ¶ 11(c)(vii). However, the parties were not able to reach
agreement on the four provisions described below regarding the handling of such printouts.


                                                   2
 Case 1:22-cv-01466-MN Document 38 Filed 05/15/23 Page 3 of 4 PageID #: 2956

The Honorable Laura D. Hatcher                                                           May 15, 2023


First, Tesla proposes that printouts of Source Code be limited to no more than 200 aggregate pages
and 5 consecutive pages (“200:5”) in the first instance, and the parties can meet and confer if
Plaintiff believes more are necessary. Ex. 1 ¶ 11(c)(vii). Tesla’s proposal is consistent with prior
orders. E.g., Ex. 7 ¶ 10(h) (Torchlight Technologies LLC v. Daimler AG, No. 22-cv-751, D.I. 96
(D. Del. Feb. 3, 2023)) (100:50 pages); Ex. 8 ¶ 9 (Nielsen Co. (US), LLC v. TVision Insights, Inc.,
No. 22-cv-1345, D.I. 23) (D. Del. Feb. 9, 2023)) (150:15 pages).

Plaintiff initially proposed a limit of 500:15 pages, followed by its current proposal of 2500:50
pages. “[B]ecause source code is extremely confidential . . . the burden should be on the party trying
to convert source code to paper.” Inventor Holdings, LLC v. Wal-Mart Stores Inc., 2014 WL
4370320, at *4 (D. Del. Aug. 27, 2014). The documents that are potentially relevant to this case are
minimal given the high-level, abstract, and duplicative nature of Plaintiff’s patent claims, and
therefore, Plaintiff cannot meet its burden to show that 2500 printout pages are necessary.

Second, Tesla proposes that Plaintiff identify which Source Code printouts it would like available at
deposition rather than have its attorneys travel with copies. Ex. 1 ¶ 11(c)(xii). Allowing Plaintiff to
copy and transport Tesla’s Source Code creates an unnecessary risk of disclosure, for example if the
printouts were left in an airport or hotel room. This risk exists irrespective of Plaintiff’s diligence.
See Drone Techs., 838 F.3d at 1300 (“[T]here may be circumstances in which even the most rigorous
efforts of the recipient of such [sensitive] information to preserve confidentiality in compliance with
... a protective order may not prevent inadvertent compromise.”). Indeed, Tesla does not allow its
own engineers to travel with printouts of AP Source Code. Ex. 2 ¶ 4.

Plaintiff has expressed concern that this provision would give advance notice of what will be
discussed at a deposition. This is not a legitimate concern. Plaintiff must disclose the bases for its
infringement positions, and there is no reason Plaintiff needs the ability to surprise Tesla employees
with Source Code. Nonetheless, Tesla proposed two compromises. First, Tesla agreed to provide a
Source Code computer for depositions at its California facilities to negate the need for printouts. As
this Court has recognized, access to a computer during depositions is “unnecessary” and
“burdensome,” but Tesla views it as preferable to allowing attorneys to travel with Source Code. See
Trans Video Elecs. Ltd. v. Time Warner Cable Inc., 1:12-cv-1740, D.I. 38 (D. Del. Jan. 22, 2015).
Second, Tesla agreed that Plaintiff could be reasonably over-inclusive in requesting deposition
printouts. It is thus neither necessary nor reasonable for Plaintiff to travel with printouts.

Third, Tesla proposes that Source Code printouts cannot be digitized except for use in excerpts as
reasonably necessary. Ex. 1 ¶ 11(c)(xiii). This prohibits the wholesale digitization of Source Code
printouts for use as electronic exhibits. Allowing Plaintiff to create digital copies of Source Code
would undermine the purpose of requiring Source Code to be produced in hard copy. Respectfully,
Plaintiff does not have the resources to adequately secure digitized copies of Source Code. Indeed,
Tesla built a custom software platform to address the vulnerabilities in its systems. Ex. 3 ¶ 3.

Fourth, Tesla proposes that all Source Code must be returned or destroyed upon final disposition.
Ex. 1 ¶ 18(c). Tesla permits that Plaintiff may keep archival copies if it redacts Tesla’s Source Code.
Plaintiff insists that it be allowed to keep unredacted copies of documents containing Source Code or
that Tesla be the one to redact them. There is no reason for Plaintiff to maintain copies of Source
Code (printed or otherwise) after the conclusion of this matter. Moreover, the request that Tesla
redact potentially hundreds of documents for Plaintiff’s archives is unreasonable.


                                                   3
 Case 1:22-cv-01466-MN Document 38 Filed 05/15/23 Page 4 of 4 PageID #: 2957

The Honorable Laura D. Hatcher                                     May 15, 2023


                                          Sincerely,

                                          /s/ Brian P. Egan

                                          Brian P. Egan

BPE/bac
Attachments

cc:   All Counsel of Record (via electronic mail; w/attachments)




                                             4
